             Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 1 of 10



     THE FLEISHMAN LAW FIRM
 1   Charles J. Fleishman Bar# 46405
     Paul A. Fleishman Bar# 251657
 2   19839 Nordhoff St., Northridge, California 91324
     Telephone: (818) 350-6285
 3   FAX: (818) 350-6272
 4   erisa@erisarights.com
     Attorneys for Plaintiff
 5
     SEDGWICK LLP
 6   REBECCA A. HULL Bar No. 99802
     rebecca.hull@sedgwicklaw.com
 7   ERIN A. CORNELL Bar No. 227135
     erin.cornell@sedgwicklaw.com
 8   One Market Plaza
     Steuart Tower, 8th Floor
 9   San Francisco, California 94105-1008
     Telephone: (415) 781-7900
10   Facsimile: (415) 781-2635
11   Attorneys for Defendant
     Metropolitan Life Insurance Company
12
13
14                                  UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16
17   ROBERT GORDON,                                     Case No. 5:10-cv-5399 EJD (HRL)
18                     Plaintiff,                       JOINT CASE MANAGEMENT
                                                        CONFERENCE STATEMENT
19   v.
                                                        Date: February 19, 2015
20   METROPOLITAN LIFE INSURANCE                        Time: 10:00 a.m.
     COMPANY, a corporation; DOES 1 through             Loc.: Ctrm. “4”
21   10, inclusive,
22                     Defendants.                      Honorable Judge Edward J. Davila
23
24
25          a. Date Case Was Filed:

26   November 29, 2010

27          b. List of All Parties:

28   Plaintiff: Robert Gordon

                                                    1

                                      Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 2 of 10




 1   Defendant: Metropolitan Life Insurance Company (“MetLife”), a corporation;
 2                   c. History of the Case:
 3           Plaintiff’s Statement:
 4           Mr. Gordon originally worked for Ashton-Tate from 1989 until it was bought by Borland
 5   Software in 1991.    Mr. Gordon worked for Borland Software Corporation (Borland) from 1991
 6   until February of 2002, at which time he became disabled due in part to mental/emotional
 7   problems.     After having received short term disability benefits based in part on his
 8   mental/emotional problems for several months, on May 1, 2002 Borland sent a letter to Plaintiff
 9   claiming that his life insurance and disability coverage ended on May 1, 2002. Mr. Gordon has
10   been unable to work since February, 2002.
11           On October 22, 2009 Plaintiff filed a claim seeking long term disability benefits through
12   his employer provided benefit plan with Metropolitan Life Insurance Company (MetLife). On
13   May 7, 2010 MetLife denied Plaintiff’s claim based on its inability to verify Plaintiff’s LTD
14   coverage as an eligible employee with Borland.
15           On May 4, 2010 Plaintiff provided MetLife with Borland Incentive Compensation Program
16   Evaluations regarding the Plaintiff for 2001 and 2002, a Borland Performance Appraisal regarding
17   the Plaintiff from April 1, 2004, Plaintiff’s W-2s from Borland from 2000 and 2001 and a Borland
18   payment summary from April 2002. On May 25, 2010 Plaintiff provided MetLife with Borland’s
19   contact information including its website, the address of Borland’s corporate office, and Borland’s
20   corporate office’s telephone number.
21           After May 2010 MetLife effectively ignored all of Plaintiff’s further correspondences,
22   including several requests to be provided the plan documents and the administrative record
23   regarding Plaintiff’s claim.
24           Plaintiff appealed MetLife’ adverse benefit decision on August 11, 2010. MetLife ignored
25   Plaintiff’s appeal. Plaintiff filed this action on November 29, 2010.
26           In December 2011, the parties agreed to a remand of Plaintiff’s claim for long term
27   disability (“LTD”) benefits under the Plan, to allow MetLife the opportunity to reconsider its
28   previous denial of plaintiff’s claim.       On April 2, 2012 MetLife overturned its original

                                                       2

                                      Joint Case Management Statement
                 Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 3 of 10




 1   determination that Plaintiff was not an eligible employee with Borland, the sole reason
 2   Plaintiff’s claim was originally denied, and provided him with forms to be completed and
 3   returned.
 4            After April 4, 2012 neither Plaintiff nor his counsel received anything from MetLife
 5   until August 15, 2012. On August 15, 2012, MetLife’s counsel emailed Plaintiff’s counsel a
 6   copy of a letter dated August 3, 2012 and physician consultant review. The August 3 letter,
 7   emailed to Plaintiff’s counsel on August 15, 2012, claimed that the consultant’s report was
 8   faxed to three of Plaintiff’s treating physicians on August 3, 2012. However, Plaintiff’s counsel
 9   subsequently received faxes from all three treating physicians indicating that those doctors did
10   not receive any physician consultant review from MetLife regarding Mr. Gordon.
11            On December 7, 2012, approximately a year after the parties agreed to remand the
12   matter, and eight months after MetLife overturned its original decision, MetLife finally notified
13   Plaintiff of its decision to deny his claim based on an entirely new reason, requiring Plaintiff to
14   again appeal a new denial.
15            Plaintiff appealed MetLife’s brand new reason for denying Plaintiff’s claim and
16   submitted further information and documentation from Plaintiff’s treating physicians in support
17   of his claim. MetLife hired medical record reviewers to review Plaintiff’s medical records.
18   There followed much back and forth between MetLife’s record reviewers and Plaintiff’s
19   treating physicians. Finally, on August 25, 2014 this writer wrote to MetLife that there would
20   not be any more responses from Mr. Gordon’s treating physicians and sought a decision on his
21   claim.
22            MetLife did not make any decision on Plaintiff’s claim, so on November 12, 2014
23   Plaintiff moved the Court to reopen the case and the Court granted Plaintiff’s motion on January
24   2, 2015. According to MetLife, “Based upon the Court’s Order Granting Plaintiff’s Motion to
25   Reopen Case, wherein the Court ordered the case restored to active litigation so that it may
26   proceed in parallel to any remaining administrative proceedings, MetLife is moving forward with
27   rendering its decision and expects to issue the decision within the next week.” So had Plaintiff
28   not moved to reopen the case, and had the court not granted Plaintiff’s motion and reopened the

                                                      3

                                     Joint Case Management Statement
               Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 4 of 10




 1   case, MetLife would not have moved forward with rendering its decision? What was MetLife
 2   doing for the four months leading up to the reopening of the case?
 3
 4           MetLife’s Statement:
 5           MetLife does not agree with plaintiff’s incomplete summary of the facts, as set forth above,
 6   and provided a general summary of the relevant facts as follows:
 7           Plaintiff seeks long term disability (“LTD”) benefits under the Borland Software
 8   Corporation Employee Benefits Plan (“Plan”). Plaintiff claims a disability start date of February
 9   2002, but he did not make a claim for LTD benefits under the Plan until October 2009. MetLife
10   denied plaintiff’s claim because it had insufficient information to establish plaintiff’s coverage
11   under the Plan as of the date he stopped working.
12           In December 2011, the parties agreed to a voluntary remand of plaintiff’s claim for LTD
13   benefits under the Plan, to permit plaintiff to submit additional documents and records in support of
14   his claimed eligibility for coverage under the Plan. On March 30, 2012, MetLife issued a letter
15   informing plaintiff that MetLife had determined that plaintiff was eligible for coverage through May
16   1, 2002. That letter, however, also advised that pursuant to the agreement to remand, MetLife
17   needed additional information in order to complete the next step of the process – determining
18   whether plaintiff met the Plan’s definition of “disability” and all other relevant terms and provisions
19   of the Plan as of the date he stopped working, such as to potentially entitled him to receive LTD
20   benefits under the Plan.
21           Following its investigation, including engaging the services of an independent physician
22   consultant (“IPC”) to review plaintiff’s file and provide an opinion regarding plaintiff’s
23   functionality during the relevant time period, on December 7, 2012, MetLife sent plaintiff’s counsel
24   a letter stating that it had determined that plaintiff was not disabled as that term is defined in the
25   Plan as of May 1, 2002, the date his covered under the Plan ended. Information was given
26   regarding how plaintiff could appeal this determination, which he should do within 180 days.
27           Contrary to plaintiff’s assertions above, this is not an “entirely new reason” to deny
28   plaintiff’s claim but rather, part of the agreement between the parties and further, is consistent with

                                                         4

                                       Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 5 of 10




 1   the terms of the Plan, which require that in order for a plan participant to receive LTD benefits, the
 2   participant must (1) actually be a participant in and covered under the Plan and (2) meet the Plan’s
 3   definition of “disability” and all other terms and conditions of the Plan.
 4           On May 13, 2013, MetLife received plaintiff’s appeal. Since then, as demonstrated below,
 5   there has been much back and forth between the parties and ongoing investigation on MetLife’s
 6   part, as to plaintiff’s entitlement to benefits under the Plan. Plaintiff’s attorney requested and was
 7   granted several opportunities to respond to the reports received from the IPCs retained by MetLife.
 8           Following the receipt of plaintiff’s appeal, on May 16, 2013, plaintiff’s file was referred
 9   for a medical review by a nurse consultant. On May 23, 2013, plaintiff’s file was referred for a
10   psychiatric review by a Psychiatric Clinical Specialist. On June 7, 2013, additional medical
11   records were received from the claimant’s counsel. On June 19, 2013, MetLife sent a letter to
12   plaintiff’s counsel stating that it needed an extension of time.
13           On July 11, 2013, the file was referred to Independent Physician Consultants (“IPCs”)
14   in occupational medicine and psychiatry. On August 5, 2013, a report was received from the
15   occupational medicine IPC, which provided a medical opinion and indicated that he had
16   attempted to schedule a telephone conference with plaintiff’s treating physician, Dr. Resneck-
17   Sannes, on July 25, July 30, and August 5, 2013, but that he had not received a call back.
18           On August 8, 2013, a report was received from the psychiatric IPC, providing a
19   medical opinion and indicating that he had attempted to schedule a telephone conference with
20   Dr. Abrabanel on July 16 and July 17, 2013, with no response.
21           On August 8, 2013, MetLife received additional medical records from plaintiff’s
22   attorney. On August 25, 2013, MetLife received addenda from the IPCs, which were sent to
23   plaintiff’s attorney.
24           On September 26, 2013, a letter was received from plaintiff’s attorney disagreeing with
25   the IPC opinions. On November 20, 2013, another letter was received from plaintiff’s
26   attorney. On January 24, 2014, additional questions were sent to the IPCs for responses. On
27   January 31, 2014, the IPCs provided addenda reports.
28

                                                        5

                                      Joint Case Management Statement
                 Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 6 of 10




 1          On February 4, 2014, a letter was received from plaintiff’s counsel submitting a letter
 2   from the treating physician. On March 17, 2014, MetLife received an addenda report from IPC
 3   Dr. Sugerman. On March 22, 2014, an addenda report was received from IPC Dr. St. Clair.
 4   On April 2, 2014, the addenda IPC reports were sent to plaintiff’s attorney.
 5          On May 19, 2014, a letter was received from plaintiff’s attorney enclosing letters from
 6   the plaintiff’s treating physicians. These additional materials were forwarded to the IPCs for
 7   response.
 8          On June 29, 2014, another addendum report was received from the occupational
 9   medicine IPC. On July 10, 2014, MetLife told plaintiff’s attorney that it was awaiting
10   transcription of illegible notes from the treating physician. The transcription was received on
11   August 6, 2014.
12          On August 18, 2014, another addendum report was received from the psychiatric IPC.
13   On August 25, 2014, the addenda IPC reports were faxed to plaintiff’s attorney. On August
14   26, 2014, a letter from plaintiff’s attorney confirmed that there would be no further responses
15   from the treating physicians.
16          On October 7, 2014 and October 29, 2014, MetLife received letters from plaintiff’s
17   attorney.
18   On November 12, 2014, plaintiff moved to reopen the case. (ECF No. 42.) On January 2, 2015,
19   the Court granted plaintiff’s motion and ordered that the case be reopened. (ECF No. 48.) Based
20   upon the Court’s Order Granting Plaintiff’s Motion to Reopen Case, wherein the Court ordered
21   the case restored to active litigation so that it may proceed in parallel to any remaining
22   administrative proceedings, MetLife is moving forward with rendering its decision and expects
23   to issue the decision within the next week.
24          d. Description of Relief Sought and Damages Claimed:
25          Plaintiff is seeking:
26          1. All benefits due him in the past and future under the plan plus interest;
27          2. A declaration by this Court that, if in fact he is found to have been and/or continues to
28   remain disabled under the terms of the controlling Plan documents, that all benefits provided to

                                                       6

                                     Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 7 of 10




 1   Plan participants while they are disabled under this Plan and any other applicable welfare or
 2   pension benefit plans covering plaintiff, be reinstated retroactive to the date his LTD benefits were
 3   terminated.
 4           3. Reasonable attorney fees;
 5           4. Costs of suit; and
 6           5. Such other and further relief as this court may deem just and proper.
 7   disability benefits from the date of his disability, and a declaration of his continued eligibility for
 8   those benefits.
 9
10           MetLife is not seeking damages in this action, but reserves its right to seek attorneys’ fees
11   and costs of suit pursuant to 29 U.S.C. § 1132(g)(1).
12           e. Status of Discovery:
13           Plaintiff’s Statement
14           Plaintiff contends that discovery as to the completeness of the administrative record to be
15   eventually provided by MetLife and discovery outside the administrative record regarding the
16   conflict of interest of MetLife and the doctors it hired is permissible in this case. Abatie v. Alta
17   Health and Life Ins. Co., 458 F.3d 955 (9th Cir. 2006) (en banc); Welch v. Metropolitan Life Ins.
18   Co., 480 F.3d 942, 949-950 (9th Cir. 2007)(“Because an ERISA plaintiff may be permitted to
19   supplement the administrative record with evidence of a conflict of interest on the part of the
20   defendant, see Tremain v. Bell Industries, Inc., 196 F.3d 970, 976–77 (9th Cir.1999), we agree
21   with Welch that some discovery aimed at demonstrating a conflict of interest may have been
22   appropriate.”); Nolan v. Heald College, 551 F.3d 1148, 1153 (9th Cir. 2009) (“As noted in Abatie,
23   consideration of the conflict can ‘affect judicial review,’ and a court is required to consider the
24   conflict whenever it exists, and to temper the abuse of discretion standard with skepticism
25   ‘commensurate’ with the conflict. 458 F.3d at 959, 965, 969. In considering how much or how
26   little to temper the abuse of discretion standard in a case such as the one before us, Abatie further
27   clarified that a district court could ‘consider evidence outside the administrative record’ to decide
28   the conflict's “nature, extent, and effect on the decision-making process.’”); Walker v. Metropolitan

                                                        7

                                       Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 8 of 10




 1   Life Ins. Co., 585 F.Supp.2d 1167, 1175 (N.D.Cal. 2008); Wojno v. Cigna Group Ins. 2011 WL
 2   3236025, *1 (C.D.Cal 2011); see also Metropolitan Life Ins. Co. v. Glenn, 554 U.S. 105, 110-11,
 3   128 S.Ct. 2343, 2347-48 (2008).
 4          Plaintiff has requested on several occasions that MetLife provide a copy of the current
 5   administrative record but has not been provided one since filing his last appeal. Despite this,
 6   Plaintiff has propounded discovery requests to MetLife on January 20, 2015. Until plaintiff
 7   receives the entire bates-stamped administrative record he cannot be sure that he has sought all the
 8   discovery that may be appropriate and necessary. Assuming that MetLife provides Plaintiff with a
 9   copy of everything it contends to be the administrative record by the time of the Case Management
10   Conference, Plaintiff believes a discovery cut-off date of June 17, 2015 would be appropriate.
11
12          MetLife’s Statement
13          MetLife anticipates timely responding to plaintiff’s discovery, but notes that in an
14   action for recovery of ERISA-regulated employee benefits, such as the claims at issue here, the
15   only type of discovery potentially available, in the discretion of the Court, is quite limited and
16   must be narrowly tailored to the issue of whether the structural conflict of interest (created by
17   the fact that MetLife both funds the Plan benefits through insurance and also makes claim
18   determinations). The discovery plaintiff has propounded is outside of the permissible scope of
19   discovery.
20          The applicable plan documents expressly grant discretion to the Plan’s fiduciaries,
21   including MetLife. As such, California Insurance Code § 10110.6 is irrelevant, and the
22   standard of review will be abuse of discretion. See Metropolitan Life Ins. Co. v. Glenn, 554
23   U.S. 105, 128 S.Ct. 2343, 2350, 171 L.Ed.2d 299 (2008). The Supreme Court has confirmed
24   that a claim administrator’s discretionary benefit determination will be upheld so long as it is
25   reasonable, even where there is a structural conflict of interest. Conkright v. Frommert, 130
26   S.Ct. 1640, 1646 (2010). See also Salomaa v. Honda Long Term Disability Plan, 642 F.3d
27   666, 676 (9th Cir. 2011) (citations and footnote omitted): “The meaning of “abuse of
28   discretion" is elucidated in our [prior case law]. There we held that the test for abuse of

                                                       8

                                     Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 9 of 10




 1   discretion in a factual determination (as opposed to legal error) is whether ‘we are left with a
 2   definite and firm conviction that a mistake has been committed,’ and we may not merely
 3   substitute our view for that of the fact finder.”
 4          Thus, the central issue in the suit will be whether the determination of plaintiff’s claim
 5   was an abuse of discretion – which it was not, as it was reasonable in light of the complete
 6   administrative record. See Wells v. Reliance Standard Life Ins. Co., 285 Fed.Appx. 343 (9th
 7   Cir. 2008), Salomaa, supra. The discovery plaintiff has propounded is not consistent with the
 8
     applicable law regarding claims for ERISA benefits; under applicable law, as noted above, any
 9
     permissible discovery must be narrowly tailored to address only the issue of the structural
10
     conflict of interest. See also Dilley v. Metropolitan Life Ins. Co., 256 F.R.D. 643 (N.D. Cal.
11
     2009) (granting protective order against plaintiff’s attempts to obtain broad “conflict”
12
     discovery).
13
            Even if the standard of review is de novo, however, plaintiff cannot show that
14
     “circumstances clearly establish that additional evidence is necessary to conduct an adequate
15
     de novo review of the benefit decision.” Mongeluzo v. Baxter Travenol Long Term Disability
16
     Benefit Plan, 46 F.3d 938, 944 (9th Cir. 1995), quoting Quesinberry v. Life Ins. Co. of North
17
18   America, 987 F.2d 1017, 1025 (4th Cir. 1993) (en banc). Although the Court has discretion,

19   on de novo review, to consider evidence outside the record, the Ninth Circuit in Mongeluzo

20   cautioned that “a district court should not take additional evidence merely because someone at

21   a later date comes up with new evidence that was not presented” at the claim stage.

22   Mongeluzo, supra, 46 F.3d at 944.
23          f. Proposed Dates:
24          The Parties propose the following dates:
25          Motion Cut-off date: July 2, 2015
26          Opening Briefs due: July 22, 2015
27          Reply Briefs due: August 5, 2015
28          Trial: August 19, 2015

                                                         9

                                      Joint Case Management Statement
              Case 5:10-cv-05399-EJD Document 51 Filed 02/11/15 Page 10 of 10




 1          The parties request that the pre-trial conference and related filings be waived, as this case is
 2   governed by ERISA and the trial will be a bench trial. Given the limited scope of evidence, which
 3   the parties believe will not involve live witness or expert testimony, a pretrial conference and the
 4   related filings are unnecessary in this case. Moreover, all evidence to be considered by the Court
 5   will be presented in advance of the trial and oral argument.
 6
 7   DATED:                                                 /s/Paul FLeishman
 8                                                          THE FLEISHMAN LAW FIRM
 9                                                          PAUL FLEISHMAN
                                                            Attorney for Plaintiff
10                                                          Robert Gordon
11   DATED:                                                 /s/Erin Cornell
12                                                          SEDGWICK LLP
13                                                          REBECCA A. HULL
                                                            ERIN A. CORNELL
14                                                          Attorneys for Defendant
                                                            Metropolitan Life Insurance Company
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       10

                                      Joint Case Management Statement
